
647 S.E.2d 427 (2007)
STATE of North Carolina
v.
Richard E. HOEY.
No. 234P07.
Supreme Court of North Carolina.
May 29, 2007.
Richard Hoey-Bey, Pro Se.
Derrick C. Mertz, Assistant Attorney General, Peter S. Gilchrist, III, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 22nd day of May 2007 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 29th day of May 2007."
*428 Upon consideration of the petition filed by Defendant on the 22nd day of May 2007 in this matter for a writ of mandamus, the following order was entered and is hereby certified to the Superior Court, Mecklenburg County:
"Denied by order of the Court in Conference this the 29th day of May 2007."
